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EXHIBIT 3
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Message

From: Jiarning Li [jiarm@ucholding.com]

on behalf of — Jiaming Li <jiam@ucholding.com> [jiam@ucholding.com]
Sent: 12/15/2022 3:52:56 PM

To: Erick Rengifo (rengifo@ucholding.com]

ce: haku du [info@mineonepartners.com]

Subject: Current funding situation

Ht Erick,

As the construction continues under progress, we're happy to get another investor who has already
signed a commitment of $2,000,000 investment to our site as a senior investor.

Also, we're under discussion with the largest manufacturer, Bitmain, for a

comprehensive partnership: a) we're going to host their miners around 9,000 to fit GMDCs, and
they're going to ship the most advanced series Sig XP. b) Bitmain will loan us 50% LTV of what we
have spent on the time our site energized, which means, around $8,000,000 will fund us to allow us
to continue phase 2, or buy additional miners, or lower down our debt rate, etc.

But Bitmain requires us to energize asap, also from our best interest, we can only sign agreements and
get their funds by then. Which means, we need current lener's money to speed up the process, even 1
day means a lot to us. As soon as the new investor's $2M arrives, it'll immediately transfer back to
them, which should be happening by this Friday or Monday maximum since it’s an international
transfer, normally taking 2-5 days.

Please let me know your thoughts.

Best,
Jiaming
